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 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     SARAH E. GRISWOLD
     Assistant United States Attorney
 3   333 Las Vegas Boulevard South
     Suite 5000
 4   Las Vegas, Nevada 89101
     702-388-6336
 5   Fax: 702-388-6418

 6
                      UNITED STATES DISTRICT COURT
 7
                           DISTRICT OF NEVADA
 8                                               -oOo-

 9   UNITED STATES OF AMERICA,                    ) Case No.: 2:15-cr-18-APG-VCF
                                                  )
10                 Plaintiff,                     ) STIPULATION FOR PROTECTIVE
                                                  ) ORDER
11           vs.                                  )
                                                  )
12   LORRAINE RIDDIOUGH,                          )
                                                  )
13                 Defendant.                     )
                                                  )
14                                                )

15           IT IS HEREBY STIPULATED AND AGREED between the parties, Daniel G. Bogden,

16   United States Attorney for the District of Nevada, Sarah E. Griswold, Assistant United States

17   Attorney, counsel for the United States, and Richard E. Tanasi, counsel for defendant

18   LORRAINE RIDDIOUGH, that this Court issue an Order protecting from disclosure to the

19   public any discovery documents containing the personal identifying information such as social

20   security numbers, drivers license numbers, dates of birth, or addresses, of participants,

21   witnesses and victims in this case.    Such documents shall be referred to hereinafter as

22   “Protected Documents.” The parties state as follows:

23   ///

24   ///
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 1           1.      Protected Documents which will be used by the government in its case in chief

 2   include personal identifiers, including social security numbers, drivers license numbers, dates of

 3   birth, and addresses, of participants, witnesses, and victims in this case.

 4           2.      Discovery in this case is voluminous. Many of the documents include personal

 5   identifiers. Redacting the personal identifiers of participants, witnesses, and victims would

 6   prevent the timely disclosure of discovery to defendants.

 7           3.      The United States agrees to provide Protected Documents without redacting the

 8   personal identifiers of participants, witnesses, and victims.

 9           4.      Access to Protected Documents will be restricted to persons authorized by the

10   Court, namely defendant, attorney(s) of record and attorneys’ paralegals, investigators, experts,

11   and secretaries employed by or contracted by the attorney(s) of record and performing on behalf

12   of defendant.

13           5.      The following restrictions will be placed on defendant, defendant’s attorney(s)

14   and the above-designated individuals unless and until further ordered by the Court. Defendants,

15   defendants’ attorneys and the above-designated individuals shall not:

16                a. make copies for, or allow copies of any kind to be made by any other person of

17                   Protected Documents;

18                b. allow any other person to read Protected Documents; and,

19                c. use Protected Documents for any other purpose other than preparing to defend

20                   against the charges in the Superseding Indictment or any further superseding

21                   indictment arising out of this case.

22           6.      Defendant’s attorney(s) shall inform any person to whom disclosure may be

23   made pursuant to this order of the existence and terms of this Court’s order.

24   ///

                                                   2
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 1           7.      The requested restrictions shall not restrict the use or introduction as evidence of

 2   discovery documents containing personal identifying information such as social security

 3   numbers, drivers license numbers, dates of birth, and addresses during the trial of this matter.

 4           8.      Upon conclusion of this action, defendant’s attorney(s) shall return to

 5   government counsel or destroy and certify to government counsel the destruction of all

 6   discovery documents containing personal identifying information such as social security

 7   numbers, drivers license numbers, dates of birth, and addresses within a reasonable time, not to

 8   exceed thirty days after the last appeal is final.

 9   DANIEL G. BOGDEN
     United States Attorney
10

11   /s/ Sarah E. Griswold                                         September 28, 2015
     SARAH E. GRISWOLD                                             DATE
12   Assistant United States Attorney

13

14
     /s/ Richard E. Tanasi                                         September 28, 2015
15   RICHARD E. TANASI                                             DATE
     Counsel for Lorraine Riddiough
16

17
                                            ORDER
18                                                September
                                     29th day of _______________________,
             IT IS SO ORDERED this ________                               2015.
19

20
                                                           ____________________________________
21                                                         UNITED STATES MAGISTRATE JUDGE

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23

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